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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE




 THOMSON REUTERS ENTERPRISE
 CENTRE GMBH and WEST PUBLISH-
 ING CORP.,

                   Plaintiffs,
                                                     No. 1:20-cv-613-SB
             v.

 ROSS INTELLIGENCE INC.,

                   Defendant.


                                      ORDER

   For the reasons given in the accompanying opinion,

   1. I GRANT IN PART AND DENY IN PART Plaintiffs’ motion for summary
      judgment on copyright infringement (D.I. 249). I grant summary judgment
      only on actual copying. But I deny summary judgment on all other elements of
      copyright infringement and on all of Plaintiffs’ theories of infringement.

   2. I GRANT IN PART AND DENY IN PART Plaintiffs’ motion for summary
      judgment on fair use and other defenses (D.I. 253). I deny summary judgment
      on fair use. But I grant summary judgment to Plaintiffs on Defendant’s other,
      miscellaneous defenses.

   3. I DENY Defendant’s motion for summary judgment on fair use (D.I. 271).

   4. I GRANT IN PART AND DENY IN PART Plaintiffs’ motion for summary
      judgment on tortious-interference with contract (D.I. 251). I grant summary
      judgment on elements one and five (existence of a contract and harm) of Plain-
      tiffs’ bot and password-sharing tortious-interference claims, which survive
      preemption. I deny summary judgment on all other elements.

   5. I GRANT IN PART AND DENY IN PART Defendant’s motion for summary
      judgment on tortious-interference with contract (D.I. 269). I grant summary
      judgment on Defendant’s preemption defense with respect to Plaintiffs’ anti-
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      competition tortious-interference claim. I deny summary judgment on preemp-
      tion for the bot and password-sharing tortious-interference claims.

   6. Within 14 days of the date of this Order, the parties SHALL meet, confer, and
      submit the estimated length of trial and the dates in May 2024 when they are
      available for trial.



Dated: September 25, 2023                   ___________________________________
                                            UNITED STATES CIRCUIT JUDGE
